                              1   WEIL, GOTSHAL & MANGES LLP
                                  Stephen Karotkin (pro hac vice)
                              2   (stephen.karotkin@weil.com)
                                  Jessica Liou (pro hac vice)
                              3   (jessica.liou@weil.com)
                                  Matthew Goren (pro hac vice)
                              4   (matthew.goren@weil.com)
                                  767 Fifth Avenue
                              5   New York, NY 10153-0119
                                  Tel: 212 310 8000
                              6   Fax: 212 310 8007

                              7
                                  KELLER & BENVENUTTI LLP
                              8   Tobias S. Keller (#151445)
                                  (tkeller@kellerbenvenutti.com)
                              9   Jane Kim (#298192)
                                  (jkim@kellerbenvenutti.com)
                             10   650 California Street, Suite 1900
                                  San Francisco, CA 94108
                             11   Tel: 415 496 6723
                                  Fax: 650 636 9251
                             12
                                  Proposed Attorneys for Debtors
Weil, Gotshal & Manges LLP




                             13   and Debtors in Possession
 New York, NY 10153-0119
      767 Fifth Avenue




                             14

                             15                               UNITED STATES BANKRUPTCY COURT

                             16                               NORTHERN DISTRICT OF CALIFORNIA

                             17                                       SAN FRANCISCO DIVISION

                             18
                                                                                     Bankruptcy Case No. 19-30088 (DM)
                             19
                                    In re:                                           Chapter 11
                             20
                                    PG&E CORPORATION,                                (Lead Case)
                             21
                                             - and -                                 (Jointly Administered)
                             22
                                    PACIFIC GAS AND ELECTRIC                         NOTICE OF CONTINUED HEARING ON
                             23     COMPANY,                                         LIMITED OBJECTION TO EMPLOYEE
                                                                                     WAGES AND BENEFITS MOTION
                             24                                  Debtors.
                                                                                     Date: March 27, 2019
                             25      Affects PG&E Corporation                       Time: 9:30 a.m. (Pacific Time)
                                     Affects Pacific Gas and Electric Company       Place: United States Bankruptcy Court
                             26      Affects both Debtors                                  Courtroom 17, 16th Floor
                                                                                            San Francisco, CA 94102
                             27     * All papers shall be filed in the Lead Case,
                                    No. 19-30088 (DM).
                             28

                             Case: 19-30088        Doc# 798     Filed: 03/07/19     Entered: 03/07/19 17:02:21    Page 1 of 2
             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
 1   Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 3   Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
     of California (San Francisco Division) (the “Bankruptcy Court”).
 4
             PLEASE TAKE FURTHER NOTICE that on February 28, 2019, the Bankruptcy Court
 5   approved a final order [Dkt No. 705] (the “Final Employee Wage and Benefits Order”) granting
 6   the relief in the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and Fed. R.
     Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay Prepetition Wages, Salaries,
 7   Withholding Obligations, and Other Compensation and Benefits; (II) Maintain Employee Benefits
     Programs; and (III) Pay Related Administrative Obligations [Dkt No. 8] (the “Employee Wages
 8   and Benefits Motion”).
 9
            PLEASE TAKE FURTHER NOTICE that, pursuant to Paragraph 11 of the Final
10   Employee Wage and Benefits Order, the objection (the “ESC Local 20 Objection”) of the
     Engineers and Scientists of California, IFPTE Local 20 (“ESC Local 20”), as it relates to STIP
11   Awards (as defined in the Employee Wage and Benefits Motion) solely for members of ESC Local
     20, was preserved and scheduled to be heard at the hearing before the Bankruptcy Court on
12   March 13, 2019, at 9:30 a.m. (Pacific Time).
13
            PLEASE TAKE FURTHER NOTICE that the hearing on the ESC Local 20 Objection is
14   being continued from its prior hearing date of March 13, 2019, to the omnibus hearing on March 27,
     2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the Honorable
15   Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden Gate
     Avenue, San Francisco, California 94102.
16
              PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
17
     viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
18   contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC, at
19   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
20   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
21   Dated: March 7, 2019
22                                           WEIL, GOTSHAL & MANGES LLP
                                             KELLER & BENVENUTTI LLP
23

24                                           /s/ Jane Kim
25                                                       Jane Kim

26                                           Proposed Attorneys for Debtors and Debtors in
                                             Possession
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